         Case 8:05-cr-00040-SDM-MAP Document 90 Filed 07/20/05 Page 1 of 6 PageID 132
A 0 245B (Rev 12103) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER:         8:05-cr-40-T-23MAP
                                                              USM NUMBER:          42640-018
VS.




CLEMENTE WRIGHT POMARE
                                                              Defendant's Attorney: Maria Guzman, pda

THE DEFENDANT:

X pleaded guilty to count ONE of the Indictment.
-

TITLE & SECTION                     NATURE O F OFFENSE                                    OFFENSE ENDED              COUNT

46 Appendix U.S.C. 5 1903(a)        Aided and Abetted in the Possession With              January 26. 2005           ONE
and (g): 18 U.S.C. 5 2: and         Intent to Distribute 5 Kilograms or more of
21 U.S.C. 5 960(b)(l)(B)(ii)        Cocaine While Aboard a Vessel Subject to
                                    the Jurisdiction of the United States


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. Thc sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

X Count TWO is dismissed in accordance with the plea agreement.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all tines, restitution, costs, and special asscssmcnts imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: July 18, 2005




                                                                                      STEVEN D. hlEKKYDAY                         J
                                                                                  UNITED STATES DISTRICT JUDGE

                                                                                  DATE: July     64,2005
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A 0 245B (Rev 12103) Sheet 2 - Imprisonment
Defendant:          CLEMENTE WRIGHT POMARE                                                                  Judgment - Page 2 of 6
Case No.:           8:05-cr-40-T-23MAP



                The defendant is hereby co~nrnittedto the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED THIRTY-FIVE (135) hlONTHS as to count one of the Indictment.




-
X The court makes the following recommendations to the Bureau of Prisons: that the defendant be placed in FCI Coleman,
Florida.


X The defendant is remanded to the custody of the United States Marshal.
-
- The defendant shall surrender to the United States Marshal for this disrrict.
           - at - a.m.1p.m. on -.
           - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

           - before 2 p.m. on -.
           - as notified by the United States Marshal.
           -as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

           I have executed this judgment as follows:




                                                                               -   -     -




           Defendant delivered on                                                  to

at                                                                        , with a certified copy of this judgment.



                                                                                         United States Marshal


                                                                        Deputy Marshal
         Case 8:05-cr-00040-SDM-MAP Document 90 Filed 07/20/05 Page 3 of 6 PageID 134
                                 -
A 0 245B (Rev. 12/03) Sheet 3 Supervised Release

Defendant:           CLEMENTE WRIGHT POMARE                                                                   Judgment - Page 3of 6
Case No.:            8:05-cr30-T-23MhP

                                                          SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (GO) hlOhTHS as to count
one of the Indictment.

        The defendant shall report to the probalion office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release. the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 8 921.

X
-        The defendant shall not illegally possess a controlled substance. The defendant shall ref~ainfrom any unlawful use of a
         conlrolled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X        The defendant shall cooperate in the collection of DNA as directed by the probation oficer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
 1   >    the defendant shall not leave the judicial district without the permission of the court or probation officer;

 2)       the defendant shall report to the probation officer and shall submit a truthfill and complete witten report within the first tive days
          of each month:

 3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

 4)       the defendant shall support his or her dependents and meet other family responsibilities:

 5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation oficer for schooling. training. or other
          acceptable reasons:

 6)          the defendant shall notify the probation officcr at least ten days pnor to any change in residence or employment:

 7)          the defendant shall refrain from exccssive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:

 8)          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed. or administered:

 9)          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
             of a fclony, unless granted permission to do so by the probation officer;

 10)         the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
             any contraband observed in plain view of the probation oficcr;

 1 1)        the defendant shall notify the probation officer within seventy-hvo hours of being arrcsted or questioned by a law enforcement
             ofiicer:

 12)         the defendant shall not enter into any agreement to act as an informer or a spccial agent of a law enforccmcnt agcncy without the
             permission of the court;

 13)         as dirccted by the probation officcr, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant's compliance with such notification requirement.
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A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        CLEMENTE WRIGHT POMARE                                                              Judgment - Page 4 of 6
Case No. :        8:05-cr-40-T-23MAP
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with thc following additional conditions of supervised release:

-
X        If the defendant is deported, he shall not re-enter the United States without the express permission of the appropriate
         governrncntal authority.
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A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:         CLEMENTE WRIGHT POMARE                                                           Judgment - Page 5 of 6
Case No.:          8:05-cr-40-T-23MAP

                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessn~ent                                                     Total Restitution

         Totals:            $100.00                             $ waived                    $


-        The determination of restitution is deferred until -.             An Atnerlded Jlrdgtnent in a Criminal Case ( A 0 2432) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
         specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
                                                                       d
         3664(i), all non-federal victims must be paid before the nited States.
                                                                                                             Priority Order or
                                                *Total                        Amount of                      Percentage of
S a m e of Payee                              Amount of Loss               Restitution Ordered               Payment




                            Totals:           L                            -
                                                                           S

-        Restitution amount ordered pursuant to plea agreement S
-        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. Q 3612(f). All of the payment options on Sheet
                                                                f
         6 may be subject to penalties for delinquency and de auk, pursuant to 18 U.S.C. 8 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the       fine   - restitution.

        -          the interest requirement for the - f i e - restitution is modified as follows:


* Findigs for the total amount of losses are required under Cha ters 109A, 110, 110A. and 113A of Title 18 for the offenses
committed on or after September 13. 1994. but before April 23. 1896.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        CLEMENTE WRIGHT POMARE                                                            Judgrnent - Page 6of 6
Case No.:         8:05-cr-40-T-23MAP


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 100.00 due immediately, balance due
                            - not later than                  . or
                            - in accordance - C, - D. - E or                         F below: or
                  payment to begin immediately (may be combined with -C, -D. or -F below): or
                  Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment: or
                  Payment in equal                (e.f.. weekly, monthly, quarterly) installments of $             over a
                  period of             , (e.g., mon is or years) to commence                   (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) after release from imprisomient. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of crirninal monetary penalties:




        %                               6
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the clerk o e court.  ' FX
Unless the court has expressly ordered otherwise, if this judgment imposes a period of in1 risonment, payment of criminal
moneta penalties is due during im risonment. All criminal monetary penalties, except ose a ments made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal.
(5) community restitution, (6) fine interest (7) penalties, and (8) casts, including cost of prosecution and court costs.
